
TROY LEE HARMS V STATE OF TEXAS






 	NO. 07-02-0084-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 18, 2002

______________________________



JEFF VILLARREAL



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 140
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 94-418,502; HON. JIM BOB DARNELL, PRESIDING

_______________________________



ABATEMENT AND REMAND

_______________________________



Before BOYD, C.J., QUINN and REAVIS, JJ.

Appellant, Jeff Villarreal, appeals from a judgment convicting him of attempted robbery and sentencing him to prison for five years. &nbsp;The clerk’s record is due in this cause, and an extension of the applicable deadline was sought. &nbsp;To justify the extension, the district clerk represented that appellant has not paid or made arrangements to pay for the record. &nbsp;However, it appears that appellant sought the appointment of counsel at one time due to his inability to employ same. &nbsp;&nbsp;If he is a pauper and unable to pay the fees and costs associated with an appeal, he also would be entitled to acquire a free appellate record.

Accordingly, we now abate this appeal and remand the cause to the 140th District Court of Lubbock County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall &nbsp;immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following: 

1. &nbsp;whether appellant desires to prosecute the appeal; 

2. &nbsp;whether appellant is indigent; and,

3. &nbsp;whether the appellant is entitled to a free appellate record due to his indigency. 

The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing the findings of fact and conclusions of law and all orders it may issue as a result of its hearing on this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing. &nbsp;Additionally, the district court shall then file the supplemental record with the clerk of this court on or before April 17, 2002. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before April 17, 2002. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;				Per Curiam 



Do not publish. 

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